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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                 )    CASE NO. 1:17-MD-2804
OPIATE LITIGATION                            )
                                             )    JUDGE DAN A. POLSTER
                                             )
                                             )    MAGISTRATE JUDGE DAVID A. RUIZ
                                             )
                                             )
                                             )    NOTICE OF COMPLIANCE
                                             )




       PLEASE TAKE NOTICE that the United States of America received requests for the

disclosure of official Department of Justice (“DOJ”) information in the above-captioned case.

Specifically, on July 10, 2018, DOJ received a request from Co-Liaison Counsel for the

Manufacturers, Co-Liaison Counsel for the Distributors, and Co-Liaison Counsel for the Chain

Pharmacy Defendants (collectively “Defendants”) seeking the Drug Enforcement

Administration (“DEA”) to provide 22 years of documents in 37 different categories, the

deposition testimony of 15 current and former DEA employees, and Federal Rule of Civil

Procedure 30(b)(6) testimony on 24 topics. On July 25, 2018, the DOJ denied the request for

failing to comply with FRCP 45, failing to comply with 28 C.F.R. § 16.22, being unreasonable

cumulative and duplicative, being unduly burdensome and not proportional to the needs of the

case, and seeking privileged and protected information. On September 4, 2018, Defendants

revised and narrowed their request. The parties met and conferred on the number of witnesses

and scope of the requested testimony. On December 11, 2018, DOJ received a request from
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 Linda Singer for Plaintiffs for 30(b)(6) testimony from DEA, much of which overlaps with

 Defendants’ requests.

           Federal regulations govern the disclosure of official information by DOJ employees

 and prohibit personnel from testifying absent express authorization. 28 C.F.R. § l 6.22(a).

 The United States Supreme Court has long recognized the authority of agency heads to restrict

 the testimony of their subordinates through regulations. United States ex rel. Touhy v. Ragen,

 340 U.S. 462 (1951). These regulations are called “Touhy Regulations.” In the Touhy

 decision, the United States Supreme Court held that a subordinate federal officer could not be

 found in contempt of court for refusing to produce subpoenaed documents, where his refusal

 was based on DOJ regulations prohibiting the disclosure of nonpublic documents without

 authorization of the Attorney General. Id. at 466. The Court rejected the contention that the

 regulation invaded the authority of the Courts to determine the admissibility of evidence. Id.

 at 468.

       In this instance, DOJ has granted authorizations for Keith Martin to testify, the 30(b)(6)

testimony of certain DEA employees, and the disclosure of certain records. The decision letters

are attached hereto as Government Exhibits H-J and will be provided to the Court and all of the

parties via the Court’s electronic filing system. Additional requests are still under consideration.




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                                               Respectfully submitted,

                                               AVA ROTELL DUSTIN
                                               Executive Assistant United States Attorney
                                               Attorney for the United States
                                               Acting Under Authority Conferred by 28 U.S.C. § 515



                                       By:     /s/ James R. Bennett II
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                                  CERTIFICATE OF SERVICE

       I certify that, on December 21, 2018, I filed a copy of the foregoing electronically. The

Court’s electronic filing system will send notice of this filing to all parties. Parties may access

this filing through the Court’s system.


                                               /s/ James R. Bennett II
                                               JAMES R. BENNETT II
                                               Assistant U.S. Attorney




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